Case 3:17-cv-00192-AJB-MSB Document 61 Filed 09/24/18 PageID.1379 Page 1 of 3
Case 3:17-cv-00192-AJB-MSB Document 61 Filed 09/24/18 PageID.1380 Page 2 of 3
Case 3:17-cv-00192-AJB-MSB Document 61 Filed 09/24/18 PageID.1381 Page 3 of 3



  1                                 CERTIFICATE OF SERVICE
  2
  3         The undersigned hereby certifies that a true and correct copy of the above and
  4   foregoing document has been served on September 24, 2018 to all counsel of record who
  5   are deemed to have consented to electronic service via the Court's CM/ECF system per
  6   Civil Local Rule 5.4. Any other counsel of record will be served by electronic mail,
  7   facsimile and/or overnight delivery.
  8   Dated:       September 24, 2018                            herronlaw,apc
  9
                                                  By:       /s/ Matthew V. Herron
 10                                                         Matthew V. Herron (SBN 71193)
 11                                                         mherron@herronlawapc.com
                                                            Attorneys for Defendants
 12
                                                            WHENEVER COMMUNICATIONS, LLC,
 13                                                         dba SATELLITEPHONESTORE.COM; and
 14
                                                            HENAA BLANCO

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                SUPPLEMENTAL DECLARATION OF GREG WINTER IN RESPONSE TO ORDER ON JOINT MOTION FOR
                                DETERMINATION OF DISCOVERY DISPUTE NO. 1 (ECF 57)
                                                        3
